Case 1:18-cr-00457-AJT Document 282 Filed 07/09/19 Page 1 of 4 PageID# 3203
Case l:18-cr-00457-AJT Document 273-1 Filed 07/08/19 Page 3 of 6 PagelD# 2901




        Request for Authorization to bring electronic device(s) into the
        United States District Court for the Eastern District of Virginia

        The following named person(s) is authorized to bring the below described
electronic device(s) into the United States District Court for the Eastern District of
Virginia on the date(s) specified:
                                    Jack Murpliy: Adam Bcreslon; Samaniha Block;
        Authorized Person(s):
                                    Adria Kicks(Paralegal); and Frank Racanati(IT)




                                     laptop computer and any necessary cables:
        Electronic Device(s):
                                    Mobile internet device (for testing only)




        Purpose and Location
                                    Orientation meeting re: evidence presentation system
        OfUse:

                                    1:18-cr-457
        Case No.:

                                    July 11.2019
        Date(s) Authorized:

        IT Clearance Waived:                   (Yes)                            .(No)

                                    APPROVED BY:



Date:               ^ 2^0!f                  Anthony J.
                                                                                  te/Bankruptcy Judge


A copy of this signed authorization must be presented upon entering the courthouse.


IT Clearance:
                              IT Staff Member                                              Date(s)



IT clearance must be completed, unless waived, before court appearance.
Case 1:18-cr-00457-AJT Document 282 Filed 07/09/19 Page 2 of 4 PageID# 3204
Case l:18-cr-00457-AJT Document 273-1 Filed 07/08/19 Page 4 of 6 PagelD# 2902




        Request for Authorization to bring electronic device(s) into the
        United States District Court for the Eastern District of Virginia

       The following named person(s) is authorized to bring the below described
electronic device(s) into the United States District Court for the Eastern District of
Virginia on the date(s) specified:
                                    Robert Trout; Mark MacDougall; Stacey Mitchell
        Authorized Person(s):
                                    Jack Murphy; Adam Bereston; Samantha Block;


                                    Adria Hicks (Paralegal); and Frank Racanati(IT)


                                    2 laptop coinputers, with power and connectivity cables; a
        Electronic Device(s):
                                    computer monitor, with cables; Powerpoint clicker;

                                    2 switches with cables; 2 external hard drives, with power
                                    cables; 3 USB storage devices; and small table

        Purpose and Location
                                    For use of evidence presentation sys.; Courtroom 701
        OfUse:

                                    1:18-cr-457
        Case No.:

                                    July 15, 2019 through conclusion of trial
        Date(s) Authorized:

        IT Clearance Waived:           ^^(Yes)                              .(No)

                                    APPROVED BY:



Date:
                                               AnthopyXTre
                                    United ^al^^i^|^^^g^i^a^e/Bankruptcy Judge

A copy of this signed authorization must be presented upon entering the courthouse.


IT Clearance:
                              IT Staff Member                                                    Date(s)



IT clearance must be completed, unless waived, before court appearance.
Case 1:18-cr-00457-AJT Document 282 Filed 07/09/19 Page 3 of 4 PageID# 3205
Case l:18-cr-00457-AJT Document 273-1 Filed 07/08/19 Page 5 of 6 PagelD# 2903




        Request for Authorization to bring electronic device(s) into the
        United States District Court for the Eastern District of Virginia

       The following named person(s) is authorized to bring the below described
electronic device(s) into the United States District Court for the Eastern District of
Virginia on the date(s) specified:
                                     Robert Trout; Mark MacDougall; Slacey Mitchell
        Authorized Person(s):
                                     Jack Murphy; Adam Bercston; Samantha Block;


                                     Adria Hicks (Paralegal); and Frank Racanati(IT)


                                       lYinhile internet devices rsuch as MiFi or hot spot device!
        Electronic Device(s):

                                    -"'ilh pf"""" '•■■rr'y 1 printer, with USB and power cables




         Purpose and Location
                                     For use in witness room to Courtroom 701 during trial
         Of Use:

                                     1:18-cr-457
         Case No.:

                                     July 15, 2019 through conclusion of trial
         Date(s) Authorized:

         IT Clearance Waived:                    (Yes)                         .(No)

                                     APPROVED BY:



Date:      ^                             ^       Anftonv J.
                                     United SlMscLaaiEK:                          t|/Bankruptcy Judge


A copy of this signed authorization must be presented upon entering the courthouse.


 IT Clearance:
                               IT Staff Member                                                       Date(s)


IT clearance must be completed, unless waived, before court appearance.
Case 1:18-cr-00457-AJT Document 282 Filed 07/09/19 Page 4 of 4 PageID# 3206
Case l:18-cr-00457-AJT Document 273-1 Filed 07/08/19 Page 6 of 6 PageiD# 2904




        Request for Authorization to bring electronic device(s) into the
      United States District Court for the Eastern District of Virginia

       The following named person(s) is authorized to bring the below described
electronic device(s) into the United States District Court for the Eastern District of
Virginia on the date(s) specified:
                                    Robert Trout; Mark MacDougall; Stacey Mitchell
        Authorized Person(s):
                                    Jack Murphy; Adam Bereston; Saniantha Block;


                                    Adria Hicks(Paralegal) and Frank Racanati (IT)



                                    2 laptop computers, with power cables; computer mouse:
        Electronic Device(s):
                                    and a USB storage device and/or external hard drive




        Purpose and Location
                                    For use in witness room to Courtroom 701 during trial
        OfUse:

                                    1:18-cr-457
        Case No.:

                                    July 15, 2019 through conclusion of trial
        Date(s) Authorized:

        IT Clearance Waived:                  (Yes)                        .(No)

                                    APPROVED BY:



Date:                                          Anthony J. Tre
                    1,              United                                       /Bankruptcy Judge


A copy of this signed authorization must be presented upon entering the courthouse.


IT Clearance:
                              IT Staff Member                                                Date(s)


IT clearance must be completed, unless waived, before court appearance.
